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United States District Court
District of Massachusetts

Iron Workers District Council of
New England Health and Welfare Fund
et al.,

Civil Action No.
23-11131-NMG

Plaintiffs,
Vv.

Teva Pharmaceutical Industries Ltd.
et al.,

Defendants.

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MEMORANDUM & ORDER

GORTON, J.

This lawsuit arises out of allegations that defendants,
Teva Pharmaceutical Industries, Ltd., Teva Pharmaceuticals USA,
Inc., Teva Branded Pharmaceutical Products R&D, Inc.
(collectively, “Teva”) and Norton (Waterford) Ltd.
(collectively, “defendants”), engaged in illegal, anti-
competitive practices to block introduction of a generic drug
that competes with its QVAR and QVAR Redihaler lines of inhaler
products.

Plaintiffs are labor union health and welfare funds
representing a putative class of entities and individuals that
allegedly overpaid for prescription asthma medication because of

defendants’ purported practices. Pending before the Court is

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defendants’ motion for judgment on the pleadings and defendants’
accompanying motion to stay the proceedings. For the reasons
that follow, the motion for judgment on the pleadings will be
allowed, in part, and denied, in part, and the motion to stay
will be denied.

I. Background

This Court outlined the complex factual, procedural and

regulatory background of this case in a prior order. See Iron

Workers Dist. Council of New Eng. Health & Welfare Fund v. Teva

Pharm. Indus. Ltd., No. CV 23-11131-NMG, 2024 WL 2025572, at *1-

*3 (D. Mass. May 7, 2024). As such, the following will address
only those facts necessary to resolve the motion at issue.

This case concerns Teva’s prescription asthma treatment
products known as QVAR and QVAR Redihaler. Those products
contain beclomethasone dipropionate, a corticosteroid, as well
as a hydrofluoroalkane (“HFA”) which is an aerosol propellant.
Teva acquired the rights to QVAR in 2006, and a 2023 decision
from the District of New Jersey upheld its patents. Plaintiffs
allege that beginning in 2014, the year before the last patent
claiming beclomethasone dipropionate was to expire, Teva began a
multifaceted, anticompetitive scheme to delay for as long as
possible the entry into the market of generic competition to

QOVAR.
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One component of the purported monopolization scheme
relevant here was an alleged reverse payment, or “pay-for-
delay”, deal. Plaintiffs assert that in January, 2020, Amneal
Pharmaceuticals (“Amneal”) filed the first application for a
generic version of QVAR. Teva did not sue Amneal but by the end
of 2020, Amneal’s plans to secure approval for the generic
purportedly “fell silent”. Based upon those circumstances,
plaintiffs contend that Teva agreed to pay Amneal to delay
launching a generic version of QVAR. Teva rejoins that it made
no such payment and decided not to sue Amneal because of an FTC
order incorporated into an asset purchase agreement. That order
ostensibly forbids Teva from suing Amneal and thus explains its
failure to do so.

Plaintiffs filed an expansive amended complaint in
September, 2023, asserting a claim for injunctive relief under
15 U.S.C. §2 (the Sherman Antitrust Act), a plethora of claims
under state antitrust and consumer protection statutes anda
claim for unjust enrichment. Defendants moved to dismiss the
complaint in its entirety for failure to state a claim. This
Court allowed, in part, and denied, in part, that motion. In
response to this Court’s partial denial of dismissal, defendants
filed an answer with 32 accompanying exhibits. In conjunction
with that answer and the exhibits, defendants now move for

judgment on the pleadings.
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Il. Legal Standard

A motion for judgment on the pleadings under Fed. R. Civ.
P. 12(c) is governed by the same legal standard as a motion to
dismiss for failure to state a claim under Fed. R. Civ. P.
12(b) (6), except that the Court considers the pleadings as a

whole rather than just the plaintiff's complaint. Aponte-Torres

v. Univ. of Puerto Rico, 445 F.3d 50, 54-55 (lst Cir. 2006).

To survive such a motion, the subject pleading must contain
sufficient factual matter to state a claim for relief that is
actionable as a matter of law and “plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is

plausible if, after accepting as true all non-conclusory factual
allegations, the Court can draw the reasonable inference that
the defendant is liable for the misconduct alleged. Ocasio-

Hernandez v. Fortuno-Burset, 640 F.3d 1, 12 (1st Cir. 2011).

In considering the merits of such a motion, the Court must
accept all factual allegations in the complaint as true and draw
all reasonable inferences in the plaintiff’s favor. R.G. Fin.

Corp. v. Vergara-Nunez, 446 F.3d 178, 182 (lst Cir. 2006). The

Court may also consider documents that the parties provide
alongside their pleadings if 1) the parties do not dispute their
authenticity, 2) they are “central to the plaintiffs’ claim” or

3) they are “sufficiently referred to in the complaint.” Curran

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v. Cousins, 509 F.3d 36, 44 (lst Cir. 2007) (quoting Watterson
v. Page, 987 F.2d 1, 3 (1st Cir. 1993)).!
III. Analysis

In its motion for judgment on the pleadings, defendant
contends that the answer and exhibits it provided render
plaintiff’s complaint implausible on two fronts: 1) because it
does not sufficiently allege a reserve payment scheme between
Teva and Amneal and 2) because it fails to assert causation for
purposes of antitrust standing. The Court addresses each
contention seriatim.

A. Reverse Payment Scheme

A reverse payment scheme involves allegations that a brand
drug manufacturer agreed to pay a potential generic competitor

to delay bringing a generic drug to market. See In re Loestrin

24 Fe Antitrust Litig., 814 F.3d 538, 551 (lst Cir. 2016). The

alleged payment is subject to antitrust scrutiny under the “rule
of reason.” Id. Under that analysis, courts must look to

[the payment’s] size, its scale in relation to the payor's
anticipated future litigation costs, its independence from
other services for which it might represent payment, and
the lack of any other convincing justification.

1 Although plaintiffs tacitly take issue with certain documents defendant
provided, the Court considers them because plaintiffs do not argue that the
documents are unauthenticated or otherwise not central to the claims. See
Curran v. Cousins, 509 F.3d 36, 44 n.5 {lst Cir. 2007) (affirming district
court's consideration of produced documents in connection with a Rule 12(c)
motion where other party “ha[d] not raised any argument . . . as to their
authenticity”).

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Id. (quoting FTC v. Actavis, Inc., 570 U.S. 136, 159 (2013)).

The First Circuit has rejected the requirement of alleging exact
amounts at the pleading stage and has clarified that non-

monetary reverse payments are also subject to the same scrutiny.
Id. Instead, to state a reverse payment claim, plaintiffs must

allege facts sufficient to support the legal conclusion
that the settlement at issue involves a large and
unjustified reverse payment.

In re Loestrin 24 Fe Antitrust Litig., 814 F.3d at 552. The

complaint must include allegations of “the general contours of
when an agreement was made” and “support[] those allegations
with a context that tends to make [the] agreement plausible.”

Evergreen Partnering Grp., Inc. v. Pactiv Corp., 720 F.3d 33, 46

(lst Cir. 2013). An agreement becomes plausible when the
payment is so large that it cannot be justified but for the
defendant company’s “serious doubts about the patent’s
survival,” revealing that “the payment’s objective” was to

affect an anticompetitive end. In re Asacol Antitrust Litig.,

233 F. Supp. 3d 247, 261-62 (D. Mass. 2017) (quoting Actavis,

570 U.S. at 138) (citing King Drug Co. of Florence, Inc. v.

Smithkline Beecham Corp., 791 F.3d 388, 410 (3d Cir. 2015)).

Applying that standard to its prior decision on the motion
to dismiss, this Court concluded that plaintiffs had presented
plausible allegations of a reverse payment scheme between

defendant and Amneal. Specifically, the Court found that
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allegations of Amneal’s announcement of a generic QVAR combined
with their unexplained failure to launch the drug and Teva’s
unexplained failure to sue Amneal created an inference of a
reverse payment. The Court perceived no other alternative
explanation and thus accepted the reverse payment allegations as
plausible.

Now, defendants proffer documentary evidence that Teva did
not sue Amneal because it was barred from doing so under a 2016
FTC order. Defendants contend that the subject order renders
plaintiffs’ reverse payment claim implausible, and specifically,
that

1) the FTC order precludes Teva from bringing a patent
infringement suit against any entity to which it “divested

a product under that order”;

2) the products subject to the order included “Beclomethasone”
products which is defined to include QVAR;

3) Teva's later Asset Purchase Agreement (“APA”) with Impax
incorporated by reference the FTC order;

4) the APA also included a term that the agreement would be
“binding upon” all “successors and permitted assigns” of
Impax;

5) Amneal became a successor to Impax through a merger; and

6) therefore, Teva was prohibited from suing Amneal for any
patent infringement claim related to QVAR.

Plaintiffs vigorously dispute defendants’ proposed reading
of the FTC order and its effect on defendants’ decision not to

sue Amneal. They claim that the APA and accompanying FTC order
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do not negate the plausibility of a reverse payment scheme but
they underestimate their burden of pleading. In a motion for

judgment on the pleadings, defendants are not compelled to rule
out every other possible explanation. Instead, it is incumbent
upon them to disprove the plausibility of plaintiff’s complaint

in light of the facts presented by their answer. See Rivera-

Gomez v. de Castro, 843 F.2d 631, 635 (lst Cir. 1988)

(explaining that Rule 12(c) requires courts to consider validity
of claims brought in plaintiff's complaint based on

“contemplation of . . . the pleadings as a whole”); Ruiz Rivera

v. Pfizer Pharm., LLC, 521 F.3d 76, 84 (1st Cir. 2008)

(accepting Rule 12(c) judgment on the pleadings as viable where
plaintiffs’ assertions of fact do not “possess enough heft” to
show he is “entitled to relief”).

In their amended complaint, plaintiffs do not dispute the
existence of the FTC order or the APA, nor their purported

effects upon Teva’s right to sue Amneal. Cf. In re Loestrin 24

Fe Antitrust Litig., 814 F.3d at 552; Evergreen Partnering, 720

F.3d at 46. Instead, plaintiffs argue ad ignorantiam: because

there is no other explanation for the failure to sue, there must
have been a reverse payment scheme. The Court is thus left with
two explanations for Teva’s failure to sue Amneal: 1) the

unsubstantiated allegations in plaintiffs’ complaint and 2)
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defendants’ answer, substantiated by allegedly valid documentary
evidence.

In light of the governing Rule 12(c) standard, plaintiffs’
conjecture regarding an alleged reverse payment scheme is
rendered implausible in the face of defendant's documents. See

Clorox Co. v. Proctor & Gamble Com. Co., 228 F.3d 24, 32 (1st

Cir. 2000) (indicating that facts supported by documentary
evidence “trump” unsupported allegations for purposes of
deciding Rule 12(c) motion) (quotations omitted)). At the
motion to dismiss stage, the Court was left to presume that
Amneal’s unexplained failure to launch the generic alternative
to QVAR plausibly resulted from a reverse payment. Based on
defendants’ responsive pleading, however, mere conjecture is not

enough. Cf. In re Asacol Antitrust Litig., 233 F. Supp. at 263

(finding reverse payment claim plausible where plaintiff alleged
existence of settlement agreement in which infringer
“effectively provided [patent holder] with a $101 million
profit” and patent holder offered no alternative explanation for
payment alleged). Accordingly, plaintiffs’ reverse payment
claim will be dismissed.

B. Causation for Antitrust Standing

To sustain an antitrust action as a private party, a
plaintiff must successfully demonstrate that he has “antitrust

standing,” Vazquez-Ramos v. Triple-S Salud, Inc., 55 F.4th 286,

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293 (1st Cir. 2022), which, in turn, depends on six factors that
courts must balance:

(1) the causal connection between the alleged antitrust
violation and harm to the plaintiff; (2) an improper
motive; (3) the nature of the plaintiff's alleged injury
and whether the injury was of a type that Congress sought
to redress with the antitrust laws (“antitrust injury”);
(4) the directness with which the alleged market restraint
caused the asserted injury; (5) the speculative nature of
the damages; and (6) the risk of duplicative recovery or
complex apportionment of damages.

Serpa Corp. v. McWane, Inc., 199 F.3d 6, 10 (lst Cir. 1999)

(citing Sullivan v. Tagliabue, 25 F.3d 43, 46 (1st Cir. 1994)).

Defendants challenge plaintiff’s here only as to whether they
have properly alleged causation.

Causation, for purposes of antitrust standing, requires the
plaintiff to show that the antitrust violation alleged was a
“material cause” of his injury, even if it was not the sole

cause of that injury. Engine Specialties, Inc. v. Bombardier

Ltd., 605 F.2d 1, 14 (lst Cir. 1979) (citing Zenith Radio Corp.

v. Hazeltine Rsch. Inc., 395 U.S. 100, 114 n.9 (1969)). The

First Circuit has interpreted this “material” connection as, in

effect, a proximate cause requirement. In re Neurontin Marketing

& Sales Practices Litig., 712 F.3d 21, 35 (ist Cir. 2013). The

First Circuit has also emphasized that the first and fourth of
standing factors which “require causation between the alleged

violation and the alleged harm” are paramount. See RSA Media,

Inc. v. AK Media Grp., Inc., 260 F.3d 10, 14 (lst Cir. 2001).

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Whether this essential element of causation has been met is
usually, though not always, a consideration for the finder of

fact. Exxon Co., U.S.A. v. Sofec, Inc., 517 U.S. 830, 840-41

(1996) (“The issues of proximate causation and superseding cause
involve application of law to fact, which is left to the
factfinder, subject to limited review.”); Swift v. United
States, 866 F.2d 507, 510 (1st Cir. 1989) (“Application of the
legal cause standard to the circumstances of a particular case
is a function ordinarily performed by, and peculiarly within the

competence of, the factfinder.”); Peckham v. Continental Cas.

Ins. Co., 895 F.2d 830, 837 (lst Cir. 1990) (“Causation
questions . . . are normally grist for the jury’s mill.”).

In applying this standard to defendants’ prior motion to
dismiss, the Court concluded that plaintiffs had sufficiently
alleged causation to maintain standing as private parties to
this antitrust matter. The fact that a previous decision

validated defendants’ patents, see Teva Branded Pharma. Prod.

R&D, Inc. v. Cipla Ltd., 678 F. Supp. 3d 559 (D.N.J. 2023),

provided an insufficient basis to warrant dismissal of
plaintiffs’ antitrust claim for lack of causation.

Now, defendants reiterate that the Cipla decision which
found an inhaler design in violation of Teva’s patents vitiates

causation for purposes of antitrust standing. More broadly,
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defendants rely on In re Nexium (Esomeprazole) Antitrust Litig.,

842 F.3d 34 (1st Cir. 2016) and In re Solodyn (Minocycline

Hydrochloride) Antitrust Litig., No. CV 14-MD-02503, 2018 WL

563144 (D. Mass. Jan. 25, 2018) to assert that, in claims
involving patented and generic versions of medical products, a
plaintiff cannot properly allege causation if the patent at
issue is valid. Defendants, however, overestimate the
applicability of those cases to the case at bar.

Both Nexium and Solodyn involved disputes about causation
that arose well beyond the pleading stage. In Nexium, the First
Circuit upheld a finding that the absence of “evidence” that any
of the patents “would be adjudicated invalid” or otherwise could
have been designed around warranted judgment as a matter of law
in favor of defendant on the causation issue. 842 F.3d at 63.
Similarly, in Solodyn, the District Court found that the absence
of “evidence” that a patent could be proven invalid warranted
summary judgment. 2018 WL 563144 at *13-*14. The Nexium
decision went on, however, to expressly distinguish between the
necessary proof of antitrust causation at the summary judgment
stage but not at the pleading stage. 842 F.3d at 62. The First
Circuit cited a Sixth Circuit decision for the proposition that
plausible allegations based on some reasons other than a given
patent’s invalidity at the pleading stage was not fatal and

merely “raise a disputed issue of fact.” Id. (quoting In re

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Cardizem CD Antitrust Litig., 332 F.3d 896, 900 (6th Cir. 2003)

(alteration omitted)).
Although neither the First Circuit nor other sessions of
this Court have since confined their reading of Nexium to its

procedural posture, cf. In re Asacol Antitrust Litig., 907 F.3d

42, 52 (1st Cir. 2018) (applying Nexium to class certification
issue), decisions from other federal courts support a conclusion
that Nexium’s stricter evidentiary requirement does not extend

to the pleading stage. In In re Xyrem (Sodium Oxybate)

Antitrust Litig., 555 F. Supp. 3d 829 (N.D. Cal. 2021), for

example, the Northern District of California concluded that
Nexium on its facts applied to a decision made post-trial and
that it “expressly distinguished [necessary] allegations of
antitrust injury at the Rule 12(b) (6) stage.” Id. at 875
(quotation omitted). As in Nexium itself, the court highlighted
decisions that have found patent validity and the ability to
design around a patent a disputed issue of fact that does not
warrant dismissing a case at the pleading stage. Id.; see also

Sergeants Benevolent Ass’n Health & Welfare Fund v. Actavis,

ple, No. 15 CIV. 6549 (CM), 2018 WL 7197233, at *31 (S.D.N.Y.

Dec. 26, 2018) (reading Nexium’s evidentiary requirement as

based on application of judgment as matter of law standard).
Because defendants’ motion here is at the pleading stage,

plaintiffs’ allegations of antitrust standing suffice to survive

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judgment on the pleadings just as it survived the motion to

dismiss. Cf. 4MVR, LLC v. Hill, No. 12-cv-10674, 2015 WL

3884054, at *6 (D. Mass. June 24, 2015) (“Motions for dismissal
and judgment on the pleadings are governed by the same
standard.”). Defendants’ answer and accompanying documents do
not alter this Court’s earlier conclusion: the Cipla decision
proves only that the specific design at issue violated Teva’s
patents, not that there is no plausible way for another company
to design a different product without infringement. There
remains a genuine dispute of material fact as to whether a
generic manufacturer could design a generic QVAR inhaler product
around defendants’ upheld patents.

This case is therefore distinguishable from both Nexium and
Solodyn. 2018 WL 563144, at *13. In both cases, the court
required “evidence” for a claim to survive a motion for summary
judgment or a motion for judgment as a matter of law. In re
Nexium, 842 F.3d at 63; Solodyn, 2018 WL 563144, at *13 (citing

Borges ex rel. S.M.B.W. v. Serrano-Isern, 605 F.3d 1, 5 (1st

Cir. 2010)). At the pleading stage, however, all that is

required of a claim is plausibility, see Nexium, 842 F.3d at 62

(citing Cardizem, 332 F.3d at 900); Igbal, 556 U.S. at 678, and
nothing in defendants’ answer warrants a change in the Court’s
previous finding that plaintiffs plausibly alleged causation for

purposes of antitrust standing. Accord Xyrem, 555 F. Supp. 3d at

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875 (distinguishing Nexium in applying Rule 12(b) (6)).
Consequently, the Court is unpersuaded by defendants’ arguments
that plaintiffs’ claims should be dismissed in their entirety
for want of antitrust standing. Furthermore, because this case
will not be dismissed at the pleading stage, the Court will deny
defendants’ motion to stay.
ORDER

For the foregoing reasons, defendants’ motion for judgment
on the pleadings (Docket No. 63) is, as to plaintiffs’ reverse
payment claim, ALLOWED but is otherwise DENIED. Defendants’

motion to stay the proceedings (Docket No. 66) is DENIED.

So ordered.

DV th nul GoW,
Nathaniel M. Gotton
United States District Judge

Dated: November és 2024
